Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 1 of 40           PageID
                                  17277




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                               (MEMPHIS DIVISION)


   IN RE REGIONS MORGAN KEEGAN                 )
   SECURITIES, DERIVATIVE AND ERISA            )
   LITIGATION                                  )
                                               )
                                                   Case No. 2:09-cv-02009-SHM
   This document relates to:                   )
   In re Regions Morgan Keegan ERISA Litig.,   )
   No. 2:08-cv-l02192-SHM-dkv                  )
                                               )
                                               )

  PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR FINAL APPROVAL
    OF CLASS ACTION SETTLEMENT AGREEMENT, SETTLEMENT SUBCLASS
         CERTIFICATION AND APPROVAL OF PLAN OF ALLOCATION
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 2 of 40                                                                 PageID
                                  17278




                                                  TABLE OF CONTENTS



  I.     INTRODUCTION................................................................................................................. 1

  II.    PROCEDURAL AND FACTUAL BACKGROUND........................................................ 2

         A.         Introduction to the Litigation ................................................................................... 2

         B.         Course of Litigation.................................................................................................. 3

         C.         Investigation of Claims and Discovery ................................................................... 5

         D.         Settlement Negotiations ........................................................................................... 7

         E.         The Settlement Agreement....................................................................................... 8

                    1.         Settlement Amount and Scope of Release.................................................. 8

                    2.         Allocation of Fees and Costs Among the Subclasses
                               Pursuant to the Settlement Agreement...................................................... 10

         F.         Dissemination of Class Notice to the Four Subclasses ........................................ 12

                    1.         In-House Plans Subclasses Notice Program............................................. 12

                    2.         Customer Plans Subclass Notice Program................................................ 13

         G.         Reasons for the Settlement..................................................................................... 16

  III.   ARGUMENT ...................................................................................................................... 16

         A.         The Settlement should be Granted Final Approval if the Court
                    Finds it to be Fair, Reasonable and Adequate....................................................... 16

                    1.         Likelihood of Success Weighed against the Amount and
                               Form of Relief ............................................................................................ 17

                    2.         Risks, Expense, and Delay of Further Litigation ..................................... 22

                    3.         The Judgment of Experienced Counsel .................................................... 23




                                                                     i
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 3 of 40                                                                PageID
                                  17279




                  4.         Amount of Discovery Completed and Character of the
                             Evidence Uncovered .................................................................................. 24

                  5.         Fairness to Unnamed Subclass Members ................................................. 25

                  6.         Objections Raised by Class Members....................................................... 25

                  7.         Whether the Settlement is the Product of Arms-Length
                             Negotiations................................................................................................ 26

                  8.         Whether the Settlement is Consistent with Public Policy ....................... 27

        B.        The Plan of Allocation is Fair and Reasonable..................................................... 28

        C.        The Court Should Grant Class Certification for the Four Settlement
                  Subclasses for the Purpose of Settlement.............................................................. 31

  IV.   CONCLUSION ................................................................................................................... 31




                                                                   ii
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 4 of 40                                                              PageID
                                  17280




                                                 TABLE OF AUTHORITIES

                                                                                                                                 Page(s)

  Cases

  Bowers v. Windstream Kentucky East, LLC,
     No. 09-440, 2013 WL 5934019 (W.D. Ky. Nov. 1, 2013)................................................ passim

  C. Fred Daniels, as Trustee ad litem in substitution for Regions Bank, et al., dba
      Regions Morgan Keegan Trust as the trustee for the Keith Smith Company,
      Inc. Employee Profit Sharing Plan v. Morgan Asset Management, Inc., et al.,
      No. 10-2514-SHM (W.D. Tenn.) ..................................................................................................4

  In re Cardizem CD Antitrust Litig.,
      218 F.R.D. 508 (E.D. Mich. 2003)..............................................................................................27

  Clark Equipment Co. v. Int’l Union, Allied Indus. Workers of Am., AFL-CIO,
     803 F.2d 878 (6th Cir. 1986) .......................................................................................................17

  Dick v. Sprint Commc’ns Co. L.P.,
     297 F.R.D. 283 (W.D. Ky. 2014)............................................................................. 17, 22, 26, 27

  Fifth Third Bankcorp v. Dudenhoeffer,
      ___U.S. ___, 134 S.Ct. 2459 (2014) ...........................................................................................19

  Gascho v. Global Fitness Holding, LLC,
     No. 11436, 2014 WL 1350509 (S.D. Ohio, April 4, 2014) .......................................... 18, 22, 27

  In re Global Crossing Sec. and ERISA Litig.,
      225 F.R.D. 436 (S.D.N.Y. 2004).................................................................................................28

  Int’l Union, United Auto., Aerospace, and Agric. Implement Workers of Am. v.
      Ford Motor Co.,
      No. 07-14845, 2008 WL 4104329 (E.D. Mich. Aug. 29, 2008) ...............................................23

  Int’l Union, United Auto., Aerospace, and Agric. Implement Workers of Am. v.
      General Motors Corp.,
      497 F.3d 615 (6th Cir. 2007) .......................................................................................................17

  Meritan, Inc., et al. v. Regions Bank dba Regions Morgan Keegan Trust, et al.,
     Nos. 08-2757, 08-2192, 2011 WL 2517060 (W. D. Tenn. June 23, 2011) ................................5

  Moulton v. U.S. Steel Corp.,
    581 F.3d 344 (6th Cir. 2009) .......................................................................................................27


                                                                     iii
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 5 of 40                                                                        PageID
                                  17281




  In re Regions Morgan Keegan Closed-End Mutual Fund Litigation,
      No. 2:07-cv-02830-SHM-dvk (W.D. Tenn.)..............................................................................21

  In re Regions Morgan Keegan ERISA Litig.,
      692 F. Supp. 2d 944 (W.D. Tenn. 2010).......................................................................................4

  In re Regions Morgan Keegan ERISA Litig.,
      741 F. Supp. 2d 844 (W.D. Tenn. 2010).......................................................................................4

  In re Regions Morgan Keegan Open-End Mutual Fund Litigation,
      No. 2:07-cv-2784-SHM-dvk (W.D. Tenn.) ................................................................................21

  In re Regions Morgan Keegan Sec., Derivative and Employee Retirement Income
      Security Act (ERISA) Litig.,
      598 F. Supp. 2d 1379 (W.D. Tenn. 2009).....................................................................................3

  In re Regions Morgan Keegan Sec., Derivative and ERISA Litig.,
      Nos. 10-2514, 08-2192, 2011 WL 1565966 (W.D. Tenn. April 25, 2011) ................................5

  In re Skechers Toning Shoe Prods. Liability Litig.,
      No. 11-2308, 2013 WL 2010702 (W.D. Ky. May 13, 2013) ....................................................18

  In re Southeastern Milk Antitrust Litig.,
      No. 08-1000, 2012 WL 2236692 (E.D. Tenn. June 15, 2012) .......................................... passim

  In re Teletronics Pacing Sys., Inc.,
      137 F. Supp. 2d 985 (S.D. Ohio 2001)........................................................................................26

  Thacker v. Chesapeake Appalachia, L.L.C.,
     695 F. Supp. 2d 521 (E.D. Ky. 2010) .........................................................................................23

  Other Authorities

  Fed. R. Civ. P. 23................................................................................................................................31

  Fed. R. Civ. P. 23(b)(3)......................................................................................................................18

  Fed. R. Civ. P. 23(e)(2) ......................................................................................................................16

  Herbert Newberg & Alba Conte, Newberg on Class Actions § 11.51 (3d ed. 1992).....................26




                                                                          iv
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 6 of 40                            PageID
                                  17282




                                      I.      INTRODUCTION

         Plaintiffs file this motion to present the Settlement Agreement for final approval. The

  Settlement brings to a close six and a half years of litigation involving ERISA claims against the

  Regions Defendants asserted by participants in three Regions In-House retirement plans and over

  460 Customer Plans for which Defendants provided trustee, custodial, investment advisory or

  investment management services. The ERISA claims asserted by the In-House plan participants

  arose from allegedly imprudent plan investments in Regions Stock, Regions Morgan Keegan

  (“RMK”) proprietary Mutual Funds and RMK Bond Funds. The claims asserted by the Customer

  Plans arose from investment in the RMK Bond Funds.

         The Settlement Agreement resolves claims asserted by four Settlement Subclasses, three

  for the In-House Plans and one for the Customer Plans, which the Court preliminarily certified

  for settlement purposes. The Settlement is an excellent result for the four Subclasses because it

  provides recovery of needed retirement funds for all class members without further protracted

  litigation. Plaintiffs present background describing the litigation, the course of discovery, and

  settlement negotiations. The memorandum continues with a description of the Settlement

  Agreement, including allocation of settlement funds among the four Subclasses, and the

  dissemination of Class Notice. Analysis of the factors supporting final approval of the Settlement

  under Sixth Circuit law follows and the memorandum closes by describing the proposed Plan of

  Allocation.




                                                   1
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 7 of 40                                         PageID
                                  17283




                        II.      PROCEDURAL AND FACTUAL BACKGROUND

  A.        Introduction to the Litigation

            Plaintiffs originally filed this Action in March of 2008 on behalf of 401(k) plan

  participants in three Regions 401(k) Plans (the “In-House Plans”): (a) the Regions Financial

  401(k) Plan; (b) the AmSouth Bancorp Thrift Plan; and (c) the Regions Financial Corporation

  401(k) Plan. On April 1, 2008, the first two plans merged to form the third plan following

  Region’s merger with AmSouth Bank.

            The In-House Plans participant plaintiffs filed ERISA breach of fiduciary duty claims

  alleging imprudence arising from three types of investment options: (a) Regions Stock that lost

  significant value; (b) excessive fees charged in RMK proprietary Mutual Funds; and (c) RMK

  proprietary Bond Funds that collapsed. In October of 2010, Plaintiffs added a fourth group of

  claims on behalf of participants in Customer Plans to which Defendants provided trustee,

  custodial, investment advisory or investment management services. These claims alleged ERISA

  breach of fiduciary duty for inclusion of the RMK Bond Funds on the approved list of Customer

  Plan investment options.

            The case is organized into the following Subclasses which the Court preliminarily

  approved for purposes of settlement:1

            1.47.1 “In-House Plans Regions Stock Settlement Subclass” means all Persons,
            other than Defendants and Defendants’ officers and directors subject to Section
            16 of the Securities Exchange Act of 1934, who were Participants in or


  1
      Paragraph references are to the Settlement Agreement, a copy of which (with Appendices A-C) is attached as Ex.
      1 to the Declaration of Derek W. Loeser in Support of Plaintiffs’ Motion for Final Approval of Class Action
      Settlement Agreement, for Settlement Subclass Certification, and for Approval of Plan of Allocation, And
      Plaintiffs’ Motion for Award of Attorneys’ Fees and Expenses and Named Plaintiff Case Contribution Awards
      (“Loeser Decl.”). A copy of the Settlement Agreement with Appendices and Attachments is located at Dkt. No.
      319-1.


                                                            2
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 8 of 40                             PageID
                                  17284




         Beneficiaries of the In-House Plans at any time between January 1, 2007 and
         December 31, 2010 and whose Plan accounts were invested in Regions Stock at
         any time during this period.

         1.47.2 “In-House Plans Excessive Fee Settlement Subclass” means all Persons,
         other than Defendants and Defendants’ officers and directors subject to Section
         16 of the Securities Exchange Act of 1934, who were Participants in or
         Beneficiaries of the Legacy Plan and/or the Regions 401(k) Plan at any time
         between May 1, 2003 and May 15, 2009 and whose Plan accounts were invested
         in one or more of the RMK Select Funds at any time during this period.

         1.47.3 “In-House Plans Bond Fund Settlement Subclass” means all Persons, other
         than Defendants and Defendants’ officers and directors subject to Section 16 of
         the Securities Exchange Act of 1934, who were Participants in or Beneficiaries of
         the Legacy Plan and/or the Regions 401(k) Plan at any time between November 9,
         2006 and July 29, 2008 and whose Plan accounts were invested at any time during
         this period in one or more of the RMK Bond Funds.

         1.47.4 “Customer Plans Settlement Subclass” means the Customer Plans and all
         Persons, other than Defendants, who were Participants in, Beneficiaries of, or
         Fiduciaries of any Customer Plan that at any time between November 9, 2006 and
         July 29, 2008 had plan assets invested in one or more of the RMK Bond Funds.
         Excluded from the Customer Plans Settlement Subclass are the Customer Plans
         that either (a) previously signed agreements releasing one or more of the
         Defendants from claims encompassed by the Released Plaintiffs’ Claims, or (b)
         validly and timely seek exclusion from the Customer Plans Settlement Subclass,
         and the Participants in, Beneficiaries of, and Fiduciaries of the Customer Plans
         described in Section 1.47.4 (a) or (b) above.

  Loeser Decl., ¶ 22 and Ex. 1.

  B.     Course of Litigation

         Plaintiffs filed three class actions in this Court and in the United States District Court for

  the Northern District of Alabama in March 2008. On Plaintiffs’ motion, this Court consolidated

  the actions, appointed Keller Rohrback and Feinstein Doyle Payne & Kravec as Interim Co-Lead

  Counsel and approved the proposed case schedule in the Order dated October 8, 2008 (Dkt. No.

  47). On February 12, 2009, the case was consolidated into a multi-district action (MDL 2009).

  See In re Regions Morgan Keegan Sec., Derivative and Employee Retirement Income Security



                                                   3
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 9 of 40                             PageID
                                  17285




  Act (ERISA) Litig., 598 F. Supp. 2d 1379 (W.D. Tenn. 2009). Plaintiffs filed their Consolidated

  Class Action Complaint for Violation of ERISA on February 24, 2009 (Dkt. No. 69). The

  Consolidated Class Action Complaint alleged ERISA breach of fiduciary duty claims regarding

  the Regions Stock, RMK Mutual Fund and RMK Bond Fund investment options. Id; Loeser

  Decl., ¶ 5.

          Defendants filed a series of motions to dismiss the Consolidated Complaint beginning on

  April 10, 2009 (Dkt. Nos. 108, 111). On Plaintiffs’ motion, the Court granted leave to file a

  supplemental complaint on January 4, 2010 (Dkt. No. 169). Plaintiffs filed the Consolidated

  Supplemental Class Action Complaint for Violation of ERISA the same day (Dkt. No. 170). On

  March 9, 2010, the Court issued its Order Granting in Part and Denying in Part Defendants’

  Motions to Dismiss (Dkt. No. 172). See In re Regions Morgan Keegan ERISA Litig., 692 F.

  Supp. 2d 944 (W.D. Tenn. 2010). The Court denied the majority of Defendants’ motions to

  dismiss, granting only the motion to dismiss the co-fiduciary liability claim in Count V against

  Defendants Morgan Keegan and Morgan Asset Management (“MAM”). Defendants moved on

  April 8, 2010 to certify the Court’s Order of March 9, 2010 for interlocutory appeal and to stay

  this action (Dkt. No. 176). On June 13, 2010, the Court entered its Order Denying Defendants’

  Motion to Certify Order for Interlocutory Appeal (Dkt. No. 188). See In re Regions Morgan

  Keegan ERISA Litig., 741 F. Supp. 2d 844 (W.D. Tenn. 2010). Loeser Decl., ¶ 6.

          Following his June 2008 appointment by the Jefferson County, Alabama Probate Court,

  the Trustee ad Litem commenced a separate Customer Plan ERISA class action, titled: C. Fred

  Daniels, as Trustee ad litem in substitution for Regions Bank, et al., dba Regions Morgan

  Keegan Trust as the trustee for the Keith Smith Company, Inc. Employee Profit Sharing Plan v.



                                                  4
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 10 of 40                                            PageID
                                  17286




  Morgan Asset Management, Inc., et al., No. 10-2514-SHM (W.D. Tenn.) (“TAL ERISA

  Action”). By Order of October 26, 2010, the Court granted Plaintiffs leave to file a Second

  Consolidated Amended Complaint asserting bond fund claims on behalf a class of Customer

  Plans (Dkt. No. 203). Plaintiffs filed their Second Amended Consolidated Complaint on October

  28, 2011 (Dkt. No. 204). The Court granted Defendants’ motion to consolidate by Order of April

  12, 2011, consolidating the TAL ERISA Action into this Action (Dkt. No. 219). See In re

  Regions Morgan Keegan Sec., Derivative and ERISA Litig., Nos. 10-2514, 08-2192, 2011 WL

  1565966 (W.D. Tenn. April 25, 2011).2 On July 15, 2011, Plaintiffs filed the Corrected Third

  Amended Consolidated Class Action Complaint for Violations of ERISA (“Third Amended

  Complaint”) (MDL Dkt. No. 117). Loeser Decl., ¶ 7.

             Defendants moved to dismiss portions of the Third Amended Complaint on August 8,

  2011 (MDL Dkt. No. 138 and Hamby Dkt. No. 254). By Order of March 30, 2012, the Court

  denied the more significant motion to dismiss filed by Defendants Morgan Keegan, MAM and

  several individual Defendants (Dkt. No. 299). The motion to dismiss filed by Defendants

  Regions Financial Corporation, Regions Morgan Keegan Trust and individual defendants limited

  to the Customer Plan claims and certain claims against individual Defendant Alderman remained

  pending at the time of settlement. Loeser Decl., ¶ 8.

  C.         Investigation of Claims and Discovery

             Co-Lead Class Counsel issued three sets of interrogatories and seven sets of requests for

  production directed to both the corporate and individual defendants and initiated deposition


  2
      On June 23, 2011, the Court granted Defendants’ motion to consolidate a second action with this case. This
      second action was entitled Meritan, Inc., et al. v. Regions Bank dba Regions Morgan Keegan Trust, et al., Nos. 08-
      2757, 08-2192, 2011 WL 2517060 (W. D. Tenn. June 23, 2011).


                                                             5
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 11 of 40                            PageID
                                  17287




  discovery. A complete list of Plaintiffs’ discovery activities is attached as Ex. 2 to the Loeser

  Decl. Plaintiffs also subpoenaed documents from third parties PricewaterhouseCooper LLP,

  Ernst & Young, R.V. Kuhns & Associates, Inc., Constangy, Brooks & Smith, Ayco, Alston Bird

  and Prima Capital, each of which were service providers to the Regions In-House Plans. Loeser

  Decl., ¶ 9.

          Plaintiffs reviewed, analyzed and organized a document database of hard copy documents

  and ESI totaling 786,500 documents or 7,360,500 pages received from Defendants and third

  party sources. Id. at ¶ 10. Receipt of these discovery materials followed multiple meet and confer

  conferences with defense counsel to negotiate the parties’ agreement on ESI discovery, including

  each of the individual custodians and ESI sources from which ESI would be collected and

  processed as well as the search terms carefully selected to target relevant documents. Id. This

  process required Plaintiffs to retain an ESI expert to address and negotiate the use of cutting edge

  electronic discovery technologies. Plaintiffs also obtained and reviewed transcripts and

  documents from the state and federal securities investigations. Id.

          Based on the document and ESI discovery, Plaintiffs initiated depositions, beginning with

  Defendant Chris A. Glaub who was a member of the Regions Financial Corporation Legacy Plan

  Benefits Management Committee as of March 14, 2007 and Plan Administrator of both the

  Legacy and AmSouth Plans. Id. at ¶ 11. During the day-long deposition, Plaintiffs obtained

  testimony on the operation and administration of the Legacy and AmSouth Plans. Additional

  depositions of Defendants were noted and pending when the Parties entered mediation. Id.

          Plaintiffs also conducted an in-depth review of publicly available Plan documents

  regarding the In-House Plans, documents provided by participants in the In-House Plans, and



                                                    6
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 12 of 40                            PageID
                                  17288




  media reports and public filings concerning the Corporate Defendants’ financial condition. Id. at

  ¶ 12. Plaintiffs negotiated access to and reviewed documents from Defendants’ files maintained

  for each of the over 460 Customer Plan Accounts in the Customer Plan Settlement Subclass. Id.

          Plaintiffs completed extensive legal research and factual analysis on the many issues

  raised by this case and Plaintiffs retained and worked with consulting experts to assist with the

  investigation and analysis of the Regions Stock, Bond Fund and excessive fee claims at issue in

  the case. Id. at ¶ 13.

          Plaintiffs also responded to extensive interrogatories and requests for production issued

  by Defendants to each of the Named Plaintiffs and each of the Representative Customer Plans.

  Plaintiffs met with the Named Plaintiffs, obtained and reviewed documents to respond to

  discovery, provided discovery responses and participated in meet and confer conferences with

  Defendants on the scope of discovery responses. Id. at ¶ 14.

  D.      Settlement Negotiations

          Following the Court’s denial of the more significant motion in Defendants’ second round

  of motions to dismiss, the Parties proceeded into deposition discovery and Plaintiffs planned to

  file their motion for class certification. Loeser Decl., ¶ 15. Aware of the cost of full discovery

  and the risk of depleting available insurance coverage, Co-Lead Class Counsel agreed to a

  mediation process in June 2012. The Parties retained Judge Daniel Weinstein of the Weinstein

  Mediation Center in Northern California. Id.

          Plaintiffs set forth their factual evidence in an extensive mediation brief supported by

  detailed and voluminous citations to Defendants’ documents and diagrams showing key lines of

  communication within Defendants’ organizations. Id. at ¶ 16.



                                                    7
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 13 of 40                           PageID
                                  17289




          The Parties mediated for twelve hours on August 20, 2012 at the Mediation Center and

  participated in extensive additional discussions facilitated by the Mediation Center from August

  2012 through June 2013. Id. at ¶ 17. Following lengthy and contentious arm’s length

  negotiations, the Parties reached an agreement in principle to settle the Action for

  $22,500,000.00 and agreed to the terms of a Mediator’s Proposal on June 10, 2013. Id. Further

  intense negotiations followed from June 10, 2013 to December 18, 2013 to achieve agreement to

  and execution of the Settlement Agreement. Id. The Settlement Amounts for each Subclass were

  separately negotiated throughout the mediation and settlement process through the mediator as

  independent Settlements. Id.

  E.      The Settlement Agreement

          1.     Settlement Amount and Scope of Release

          In return for a release of all claims, Defendants will pay the sum of $22,500,000.00

  (“Settlement Amount”) allocated as follows:

                                                       Allocation
               Settlement Subclass                                          Approximate Amount
                                                       Percentage

          In-House Plans Regions Stock                                          $14,300,000.00
                                                        63.555%
               Settlement Subclass

          In-House Plans Excessive Fee                                           $2,400,000.00
                                                        10.667%
              Settlement Subclass

       In-House Plans Bond Fund Settlement                                       $3,400,000.00
                                                        15.111%
                     Subclass

       Customer Plans Settlement Subclass               10.667%                  $2,400,000.00

  Settlement Agreement § 8.2.1. See Loeser Decl., Ex 1.




                                                   8
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 14 of 40                          PageID
                                  17290




         With respect to the three In-House Plans Settlement Subclasses, the Settlement

  Agreement releases all Defendants from ERISA based claims for breach of fiduciary duty arising

  from the inclusion of Regions Stock, the RMK Bond Funds and the RMK Mutual Funds as

  investment options in the In-House Plans. With respect to the Customer Plans Settlement

  Subclass, the Settlement Agreement similarly releases all Defendants from ERISA based claims

  for breach of fiduciary duty arising out of inclusion of the RMK Bond Funds on the approved list

  of investment options for the Customer Plans. Loeser Decl., ¶ 19.

         The Released Claims exclude certain “Carved Out Actions” as set forth in detail in

  Section 4.1 of the Settlement Agreement and repeated here as follows:

                provided, however, that the Released Plaintiffs’ Claims exclude:

                (1) claims to enforce this Settlement;

                (2) claims by any Customer Plan that timely and validly seeks exclusion from the
                Customer Plans Settlement Subclass, including claims by any Participant,
                Beneficiary or Fiduciary if the Customer Plan timely and validly seeks exclusion
                from the Customer Plans Settlement Subclass;

                (3) any governmental or regulatory agency’s claims in any criminal, civil, or
                administrative action or proceeding against any of the Defendant Releasees, or
                any claims or rights to compensation from the SEC Fair Fund, the States’ Fund, or
                other victim compensation funds resulting from any such governmental or
                regulatory agency action, including without limitation the actions listed in
                Appendix C; and

                (4) (i) any claims under federal or state securities laws that are or have been
                alleged, or in the future may be alleged through an amended pleading, in any of
                the actions currently within the Multi-District Litigation (“MDL”) captioned: In
                re Regions Morgan Keegan Securities, Derivative and Employee Retirement
                Income Security Act (ERISA) Litigation, 2:09-md-2009 SHM (the “MDL
                Actions”), including, but not limited to, those listed below; and (ii) with respect to
                any putative class members who validly opt out of any of the MDL Actions, any
                state or federal securities laws claims that they may assert that arise out of any of
                the same acts, omissions, facts, matters, transactions, or occurrences alleged in
                one or more of the MDL Actions:


                                                  9
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 15 of 40                                           PageID
                                  17291




                             a. In re Regions Morgan Keegan Open-End Mutual Fund Litigation,
                                Case No. 2:07-2784-SHM-dkv;

                             b. In re Regions Morgan Keegan Closed-End Fund Litigation, Case No.
                                2:07-cv-02830-SHM-dkv;

                             c. Landers et al., v. Morgan Asset Management, Inc. et al., 2:08-cv-
                                02260-SHM (any right to participate in any recovery in this derivative
                                action is also excluded from the Released Plaintiffs’ Claims); and

                             d. In re Helios Closed-End Funds Derivative Litigation, 2:11-cv-02935-
                                SHM (any right to participate in any recovery in this derivative action
                                is also excluded from the Released Plaintiffs’ Claims).

  Settlement Agreement, § 4.1. Loeser Decl., ¶ 20 and Ex. 1.

           In addition, Section 4.3 of the Settlement Agreement states as follows regarding the

  “Carved Out Actions”:

                    4.3     Claims Not Released. Without limiting the scope of the exclusions or
                    qualifications following “provided however” in Section 4.1 (B) above, neither this
                    Settlement Agreement or the Settlement, nor the Final Approval Order and
                    Judgment, shall in any way bar, limit, waive, release or discharge any right,
                    remedy, claim, action, or cause of action by members of the Settlement
                    Subclasses to recover any moneys or any other relief in the actions listed in
                    Appendix C or the Carved Out Actions or any claims relating to the covenants
                    and or obligations set forth in this Settlement Agreement.

  Loeser Decl., ¶21 and Ex. 1.

           2.       Allocation of Fees and Costs Among the Subclasses Pursuant to the
                    Settlement Agreement

           The Settlement Agreement allocates fees and costs to be paid from the Settlement

  Amount to the Settlement Subclasses. Loeser Decl., ¶ 23 and Ex. 1.3 Pursuant to § 11.1 of the

  Settlement Agreement, Attorneys’ fees and costs awarded to all Plaintiffs’ counsel will be



  3 All section references in this paragraph are to the Settlement Agreement attached as Ex. 1 to the Loeser Decl.



                                                           10
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 16 of 40                                           PageID
                                  17292




  allocated to the Settlement Subclasses in the percentages set forth in § 8.2.1 of the Settlement

  Agreement. Pursuant to § 9.4.6, costs incurred by the Claims Administrator for class notice,

  calculations pursuant to the Plan of Allocation and distribution of funds for the Customer Plans

  Settlement Subclass will be paid solely from the Customer Plans Subclass Settlement Amount.

  Pursuant to § 9.4.7, costs incurred by the Claims Administrator for class notice and calculations

  pursuant to the Plan of Allocation will be paid by the respective In-House Plans Settlement

  Subclass for which they were incurred. Pursuant to § 9.4.8, costs incurred by the Regions 401(k)

  Plan record keeper for distribution of Settlement Amounts will be paid out of the respective In-

  House Plans Settlement Subclass Settlement Amounts and will be included in the Claims

  Administrator’s calculations pursuant to the Plan of Allocation. Pursuant to § 9.4.9, costs that

  can be allocated specifically to a Settlement Subclass will be so allocated. Where specific

  allocation is not feasible, costs will be allocated on the basis of the percentages set forth in §

  8.2.1. Approximately $10,000 of the $60,000 billed by the Independent Fiduciary retained

  pursuant to § 3.2.7.1 will be allocated to the In-House Plans Settlement Subclasses under §

  3.2.7.2. 4 Case Contribution Awards related to the Customer Plans Settlement Subclass will be

  paid by the Customer Plans Subclass Settlement Amount and Case Contribution Awards related

  to the In-House Plans Subclasses will be allocated among the In-House Settlement Subclasses in

  proportion to the percentages set forth in § 8.2.1.5 Pursuant to § 8.1.1, all tax liabilities of the




  4
      The proportional allocation based on the percentages in § 8.2.1 in the Settlement Agreement will be Regions Stock
      Subclass (71.145%); Excessive Fee Subclass (11.941%); and Bond fund Subclass (16.914%). Loeser Decl., 23 .
  5 See fn.4, infra.



                                                            11
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 17 of 40                         PageID
                                  17293




  Qualified Settlement Fund will be paid by the Qualified Settlement Fund and allocated to the

  Settlement Subclasses on the basis of the percentages in § 8.2.1 pursuant to § 9.4.9.

  F.     Dissemination of Class Notice to the Four Subclasses

         The court-appointed Claims Administrator, GCG, Inc., has executed the Notice Program

  as set forth in the Preliminary Approval Order (Dkt. No. 327). The Court approved seven notice

  forms as explained below. Copies of the court approved notices are attached as Exs. A-E to the

  Declaration of Jennifer M. Keough Regarding Notice Dissemination and Publication (“Keough

  Decl.”).

         1.      In-House Plans Subclasses Notice Program

         GCG received a spreadsheet containing 49,482 names and addresses of members of the

  In-House Plans Subclasses under § 3.2.3.2 of the Settlement Agreement. Keough Decl., ¶ 4.

  GCG analyzed the names and addresses electronically to update addresses through the National

  Change of Address database maintained by the U. S. Postal Service. Id. at ¶ 5. On July 23, 2014,

  GCG sent a copy of the In-House Plans Subclass Notice by first class U.S. Mail to 49,482

  members of the In-House Plans Subclasses. Id. at ¶ 6. A copy of the In-House Plans Subclass

  Notice is attached as Ex. A to the Keough Decl. On August 1, 2014, the In-House Plans Subclass

  Publication Notice appeared in Investors Business Daily and on August 4, 2014, it was

  transmitted by PR Newswire. Id. at ¶ 9. The In-House Plans Subclass Publication Notice is

  attached as Ex. D to the Keough Decl. In addition, as of July 23, 2014, the In-House Plans

  Subclass Notice, the In-House Plans Subclass Publication Notice, the Order Preliminarily

  Approving Settlement and Providing for Notice, the Class Action Settlement Agreement, and the




                                                  12
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 18 of 40                                               PageID
                                  17294




  proposed Plan of Allocation have been posted on the website maintained by the Claims

  Administrator for this case. Id. at ¶ 11.

             The In-House Plans Subclass Notice summarized the salient terms of the Settlement and

  the Plan of Allocation, and disclosed that Co-Lead Class Counsel would apply for an award of

  attorneys’ fees of up to 30% of the Settlement Amount and an award of expenses and that Co-

  Lead Class Counsel would seek Case Contribution Awards for the Named Plaintiffs, with the

  exception of the Trustee ad Litem. Keough Decl., Ex. A. The In-House Plans Subclass Notice

  also advised Subclass members of their right to object to the Settlement, the Plan of Allocation,

  Co-Lead Class Counsel’s application for attorneys’ fees and expenses, and/or the request for

  Case Contribution Awards for the Named Plaintiffs. The In-House Plans Subclass Notice

  disclosed the means by which In-House Plans Settlement Subclass members could object to the

  proposed Settlement, and the deadline for any such objection, which must be filed and received

  by all counsel listed in the In-House Plans Subclass Notice by October 28, 2014. Id.

             2.       Customer Plans Subclass Notice Program

             GCG received a spreadsheet containing 480 names and addresses of plan sponsors6 of the

  Customer Plans in the Customer Plans Subclass under § 3.2.3.3 of the Settlement Agreement. Of

  those 480 records, 423 concerned Customer Plan Accounts represented by the court-appointed

  Trustee ad Litem (“TAL”).7 The remaining 57 records concerned the Customer Plan Accounts




  6 The list of plan sponsors included more than one contact for a Customer Plan Account where it was appropriate to
      include interested parties or successors-in-interest to facilitate notice to a particular Customer Plan Account. As
      used in this section, the term plan sponsor includes these additional contacts.
  7
      The role of the Trustee ad Litem is further described in § 1.48 of the Settlement Agreement. See Loeser Decl., Ex.
      1.


                                                              13
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 19 of 40                         PageID
                                  17295




  in the Subclass that are not represented by the TAL. Keough Decl. at ¶ 4. GCG analyzed the

  names and addresses electronically to update addresses through the National Change of Address

  database maintained by the U. S. Postal Service. Id. at ¶ 5.

          On July 23, 2014, GCG sent a copy of the Customer Plans Subclass Notice by first class

  U.S. Mail to the Plan Administrator of each Customer Plan Account that is not represented by

  the TAL at the name and address of the plan sponsor pursuant to §3.2.3.4 of the Settlement

  Agreement. Id. at ¶ 6. The Customer Plans Subclass Notice instructed Plan Administrators to

  communicate the enclosed court-approved Customer Plans Subclass Summary Notice to

  participants in their Customer Plan within sixty days. A copy of the Customer Plans Subclass

  Notice and the Customer Plans Subclass Summary Notice are attached as Ex. B to the Keough

  Decl.

          Also on July 23, 2014, GCG sent a copy of the Customer Plans Subclass Notice (TAL) to

  the Plan Administrators of each Customer Plan Account that is represented by the TAL at the

  name and address of the plan sponsor pursuant to §3.2.3.4 of the Settlement Agreement. The

  court approved Customer Plans Subclass Notice (TAL) includes additional information

  explaining how to contact the TAL with questions. The Customer Plans Subclass Notice (TAL)

  instructed Plan Administrators to communicate the enclosed court-approved Customer Plans

  Subclass Summary Notice (TAL) to participants in their Customer Plan within sixty days. A

  copy of the Customer Plans Subclass Notice (TAL) and the Customer Plans Summary Subclass

  Notice (TAL) are attached as Ex. C to the Keough Decl. Id. at ¶ 6.

          On August 1, 2014, the Customer Plans Subclass Publication Notice appeared in

  Investors Business Daily and on August 4, 2014, it was transmitted by PR Newswire. Id. at ¶ 9.



                                                  14
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 20 of 40                                          PageID
                                  17296




  The Customer Plans Subclass Publication Notice is attached as Ex. E to the Keough Decl. In

  addition, as of July 23, 2014, the Customer Plans Subclass Notice, the Customer Plans Summary

  Subclass Notice, the Customer Plans Subclass Notice (TAL), the Customer Plans Summary

  Subclass Notice (TAL), the Customer Plans Subclass Publication Notice, the Order Preliminarily

  Approving Settlement and Providing for Notice, the Class Action Settlement Agreement, and the

  proposed Plan of Allocation have been posted on the website maintained by the Claims

  Administrator for this case. Id. at ¶11.

          The Customer Plans Subclass Notices and Summary Notices (TAL and non-TAL)

  summarized the same information explained above with respect to the In-House Plans Subclass

  Notice. In addition, the Customer Plans Subclass Notices and Summery Notices (TAL and non-

  TAL) explained the means by which Customer Plans could opt-out of the Customer Plans

  Settlement Subclass. One or more fiduciaries of a Customer Plan could mail a written request to

  be excluded from the Settlement postmarked no later than October 31, 2014 and received no later

  than November 7, 2014 by GCG, the Claims Administrator. An exclusion on behalf of a

  Customer Plan is binding on all participants and beneficiaries of the Customer Plan.8

          Finally, GCG established a toll-free number on July 23, 2014 with an interactive voice

  response system dedicated to the Settlement. As of September 19, 2014, GCG had received 754

  incoming calls to the Call Center. Id. at ¶ 10. GCG responded to each message promptly and will

  continue to accommodate inquiries from Subclass members. Id.



  8 By letter of August 7, 2014, the Senior Services Retirement Plan sponsored by Meritan, Inc. notified the Claims
   Administrator of its decision to Opt-Out of the Customer Plans Subclass. By letter of September 19, 2014, the
   Senior Services Retirement Plan notified the Claims Administrator of its withdrawal of the Opt-Out and its
   decision to remain a member of the Customer Plans Settlement Subclass. Keough Decl. ¶13.


                                                          15
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 21 of 40                             PageID
                                  17297




  G.     Reasons for the Settlement

         Plaintiffs have entered into this proposed Settlement with an understanding of the

  strengths and weaknesses of their claims. This understanding is based on: (1) the motion practice

  undertaken by the Parties; (2) the investigation, research, and discovery as outlined above; (3)

  the likelihood that the Court would certify each Subclass to proceed as a class; (4) the likelihood

  that each Subclass would prevail at trial and, if necessary, on appeal; (5) the range of possible

  recovery; (6) the substantial complexity, expense, and duration of litigation necessary to

  prosecute this Action through trial and, if necessary, through appeal; (7) Defendants’

  determination to fight and contest every aspect of the case; and (8) the significant risk that any

  available insurance would be depleted over the course of the litigation. Having undertaken this

  analysis, Co-Lead Class Counsel and the Named Plaintiffs and Representative Customer Plans

  have concluded that the Settlement is fair, reasonable, and adequate, and should be presented to

  the Court for approval. Loeser Decl., ¶ 28.

                                         III.    ARGUMENT

  A.     The Settlement should be Granted Final Approval if the Court Finds it to be Fair,
         Reasonable and Adequate

         The Court should approve a class action settlement pursuant to Fed. R. Civ. P. 23(e)(2) if,

  following direct notice in a reasonable manner to all class members who would be bound, the

  Court determines that the settlement “is fair, reasonable, and adequate.” In In re Southeastern

  Milk Antitrust Litig. (“Milk Antitrust”), No. 08-1000, 2012 WL 2236692, at *2 (E.D. Tenn. June

  15, 2012), the court reaffirmed the multiple factors that guide final settlement approval in the

  Sixth Circuit: (a) the likelihood of success on the merits when weighed against the amount and

  form of the relief offered in the settlement; (b) the risks, expense and delay of further litigation;


                                                    16
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 22 of 40                            PageID
                                  17298




  (c) the judgment of experienced counsel who have competently evaluated the strength of their

  proofs; (d) the amount of discovery completed and the character of the evidence uncovered; (e)

  whether the settlement is fair to the unnamed class members; (f) objections raised by class

  members; (g) whether the settlement is the product of arm’s length negotiations as opposed to

  collusive bargaining; and (h) whether the settlement is consistent with the public interest. Id. at

  *2 (citing Williams v. Vukovich, 720 F.2d 909, 922-23 (6th Cir. 1983), and In re Cardizem CD

  Antitrust Litig., 218 F.R.D. 508, 522 (E.D. Mich. 2003)). In evaluating a proposed settlement of

  a class action, a district court must examine the terms of the settlement and the process by which

  the settlement was arrived at, to make sure that the terms are reasonable and that the settlement is

  not the product of fraud, overreaching, or collusion. See Clark Equipment Co. v. Int’l Union,

  Allied Indus. Workers of Am., AFL-CIO, 803 F.2d 878, 880 (6th Cir. 1986) (per curiam).

  Evaluation and approval of the settlement is committed to the sound discretion of the district

  court and its judgment is reviewed deferentially. Id.

         1.      Likelihood of Success Weighed against the Amount and Form of Relief

         “The fairness of each settlement turns in large part on the strength of the parties’ legal

  dispute.” Milk Antitrust, 2012 WL 2236692, at *2. “The court must also weigh the likelihood of

  success on the merits in considering whether the settlement is fair, reasonable and adequate.”

  Dick v. Sprint Commc’ns Co. L.P., 297 F.R.D. 283, 296 (W.D. Ky. 2014). The Sixth Circuit

  characterizes analysis of this factor as follows:

         Although this inquiry understandably does not require [the court] to “decide the
         merits of the case or resolve unsettled legal questions,” [the court] cannot “judge
         the fairness of a proposed compromise” without “weighing the plaintiff’s
         likelihood of success on the merits against the amount and form of the relief
         offered in the settlement.”



                                                      17
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 23 of 40                               PageID
                                  17299




  Int’l Union, United Auto., Aerospace, and Agric. Implement Workers of Am. v. General Motors

  Corp., 497 F.3d 615, 631 (6th Cir. 2007) (quoting Carson v. American Brands, Inc., 450 U.S. 79,

  88 n.14 (1981)).

         This analysis looks first to the strengths and weaknesses of Plaintiffs’ legal and factual

  claims. As a threshold question, the Court should consider the risk presented by class

  certification. As set forth in detail in Plaintiffs’ memorandum in support of motion for

  preliminary approval (Dkt. No. 318), class certification is relatively routine for ERISA breach of

  fiduciary duty claims asserted by participants in a single plan against plan fiduciaries.

  Certification of the Customer Plan Subclass for purposes of trial presented Plaintiffs with a

  greater challenge. Gascho v. Global Fitness Holding, LLC, No. 11-436, 2014 WL 1350509, at

  *18 (S.D. Ohio, April 4, 2014) (Defendant “has contested class certification and asserted various

  defenses that present financial risks to the class”). The “class of plans” format for certification of

  the Customer Plans Subclass, including the requirements for certification under Rule 23(b)(3),

  opens the door to many more challenges to certification. While cases are trending in favor of

  certification in “class of plan” cases, Plaintiffs identified class certification of the Customer Plans

  Subclass as a significant risk for the Customer Plans Subclass.

         A second significant risk faced Plaintiffs in all four Subclasses at trial. To prevail on

  ERISA breach of fiduciary duty claims, Plaintiffs have to prove that the individual Defendant

  fiduciaries knew or should have known the various investment options were imprudent, meaning

  too risky to be included as investments in the Plaintiffs’ 401(k) plans. Plaintiffs pieced together

  evidence of key information that passed to ERISA fiduciaries, for example during investment

  committee meetings, through their detailed analysis of Defendants’ documents. Nevertheless, at



                                                    18
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 24 of 40                               PageID
                                  17300




  trial Plaintiffs faced significant risks “in connection with establishing the factual bases to support

  some of the classes’ legal theories ….” In re Skechers Toning Shoe Prods. Liability Litig., No.

  11-2308, 2013 WL 2010702, at *5 (W.D. Ky. May 13, 2013) (citing Thacker v. Chesapeake

  Appalachia, L.L.C., 695 F. Supp. 2d 521, 531 (E.D. Ky. 2010)).

         The function of time presented a third litigation risk to Plaintiffs because the law on

  various issues relevant to ERISA breach of fiduciary duty claims continues to evolve. Most

  recently, the Supreme Court’s ruling in Fifth Third Bankcorp v. Dudenhoeffer, ___U.S. ___, 134

  S.Ct. 2459 (2014), addressed threshold pleading issues in ERISA breach of fiduciary duty cases,

  potentially making it far more difficult for plaintiff participants to survive motions to dismiss.

  Plaintiffs discuss further risks created by developing ERISA law in Section III.A.3(a) of

  Plaintiffs’ Memorandum in Support of Co-Lead Counsel’s Motion for Award of Attorneys’ Fees

  and Expenses and Named Plaintiff Case Contribution Awards, filed simultaneously with this

  motion.

         Under this analysis, the Court weighs the litigation risk against the amount recovered for

  each Subclass in the Settlement. Milk Antitrust, 2012 WL 2236692, at *2. Plaintiffs evaluate the

  settlement amounts recovered as follows:

                 a.      In-House Plans Regions Stock Subclass

         If Plaintiffs prevail at trial on the Regions Stock claim, they have a realistic range of

  recovery for the Regions Stock Subclass claims of zero to $409 million, with the most likely

  recovery at about $22.7 million. Assuming Plaintiffs prevail at trial, the damages recovery would

  turn primarily on two issues, both of which present significant challenges. First, Defendants

  would argue for zero damages because the value of the stock has since recovered to its former



                                                   19
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 25 of 40                               PageID
                                  17301




  value at the point in time when Plaintiffs could prove Regions stock became an imprudent

  investment option. Second, Defendants would argue that Plaintiffs are only entitled to recover

  purchaser damages, i.e., losses suffered by plan participants who purchased Regions Stock

  during the Subclass period, not the much larger losses suffered by plan participants who owned

  Regions Stock before the Subclass period and held the stock during the class period. If Plaintiffs

  were able to prove Regions Stock became an imprudent investment for the Regions 401(k) Plans

  by January 1, 2007, the purchaser damages totaled $22.7 million. The $14.5 million Settlement

  Amount for the In-House Plans Regions Stock Subclass is 63.85% of the $22.7 million damage

  figure.

                   b.       In-House Plans Excessive Fee Subclass

            Assuming Plaintiffs prevail at trial on the Excessive Fee claim, Plaintiffs would seek

  damages of $14,938,225 based on publically available information about the expense ratios of

  the proprietary RMK Mutual Funds. Defendants would argue in response that they provided

  significant rebates of these fees to In-House Plan participants. If Defendant’s proof is successful,

  the damages figure falls to approximately $6,121,788. The $2.4 million Settlement Amount is

  39.9% of the discounted damages figure and 16% without the discount.

                   c.       In-House Plans Bond Fund Subclass

            Plaintiffs’ original damages figure on the In-House Plans Bond Fund claim was

  $24,866,202. Since Plaintiffs filed this action, three other potential sources of recovery for the

  In-House Plans Bond Fund losses have appeared: (a) the States’ Fair Fund obtained by the States

  attorneys general arising from state securities claims;9 (b) the SEC Fair Fund obtained by the


  9 See Appendix C to the Settlement Agreement, ¶ 1 (Loeser Decl., Ex. 1).



                                                         20
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 26 of 40                                PageID
                                  17302




  SEC arising from federal securities claims;10 and (c) the Open End Bond Fund Securities

  action.11 To date, the States Fair Fund distribution has resulted in a $5,949,695 recovery for

  members of the In-House Plans Bond Fund Subclass. The amounts that may or may not become

  available for Subclass members from the other two sources are unknown. At a minimum,

  Defendants will argue Plaintiffs’ damages should be discounted by $5,949,695, leaving total

  damages of $18,916,507. The $3.4 million Settlement Amount for the In-House Plans Bond

  Fund Subclass is 18% of this discounted figure. Plaintiffs anticipate members of the In-House

  Plans Bond Fund Subclass may also receive funds from the SEC Fair Fund distribution and any

  recovery in the Open End Bond Fund Securities case.

                   d.       Customer Plans Subclass

          Plaintiffs anticipate Defendants would argue the original Customer Plans damage figure

  of $16,897,537 should be discounted by the $2,778,360 recovered by members of the Customer

  Plans from the States’ Fair Fund, leaving a discounted damage total of $13,119,177. The $2.4

  million Settlement Amount recovered by the Customer Plans Subclass is 17% of this discounted

  figure. Plaintiffs anticipate members of the Customer Plans Subclass may also receive funds

  from the SEC Fair Fund distribution, any recovery in the Open End Bond Fund Securities case

  and the $62 million recovered but not yet distributed in the Closed End Bond Fund Securities

  litigation.12




  10 See Appendix C to the Settlement Agreement, ¶¶ 2 – 5 (Loeser Decl., Ex. 1) .
  11 In re Regions Morgan Keegan Open-End Mutual Fund Litigation, No. 2:07-cv-2784-SHM-dvk (W.D. Tenn.).
  12 In re Regions Morgan Keegan Closed-End Mutual Fund Litigation, No. 2:07-cv-02830-SHM-dvk (W.D. Tenn.).



                                                          21
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 27 of 40                                PageID
                                  17303




          The “‘parties face enormous risk if the case is tried,’ and given the complexity of the

  issues in this litigation and their hotly contested nature, as well as the inherently unpredictable

  nature of a … trial, there is clearly risk of recovery of little or nothing at trial.” Milk Antitrust,

  2012 WL 2236692, at *2 n.3. This factor weighs in favor of approval.

          2.      Risks, Expense, and Delay of Further Litigation

          The Court also weighs recovery under the Settlement against the risks, expense, and

  delay Plaintiffs would confront if they pursued their claims through trial and appeal. Dick, 297

  F.R.D. at 295. Class actions are “inherently complex and settlement avoids the costs, delays, and

  multitude other problems associated with them.” Gascho, 2014 WL 1350509, at *18 (citing In re

  Telectronics Pacing Sys., Inc., 137 F. Supp. 2d 985, 1013 (S.D. Ohio), decision clarified, 148 F.

  Supp. 2d 936 (S.D. Ohio 2001)). In this case, further delay of this protracted litigation would

  deny Plaintiffs recovery of needed retirement funds in their 401(k) plans. After six and a half

  years, the opportunity to recover funds and distribute them to the Plaintiff Plan participants is an

  important goal of this Settlement. Moreover, the factual and legal complexity of this case,

  particularly given the four Subclasses, has contributed to the time and expense incurred by

  Plaintiffs. In light of the litigation risks explored above, the conclusions reached by another

  Court in this Circuit apply equally here: “further litigation would more likely expose Plaintiffs

  to greater risk than it would increase their recovery.” Bowers v. Windstream Kentucky East,

  LLC, No. 09-440, 2013 WL 5934019, at *2-3 (W.D. Ky. Nov. 1, 2013) (The case “has already

  been the subject of numerous lengthy opinions by the Court involving the most complex matters.

  To litigate this further on Plaintiffs’ part would only risk losing many of their already hard

  fought legal victories”). This factor weighs in favor of approval.



                                                     22
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 28 of 40                            PageID
                                  17304




         3.      The Judgment of Experienced Counsel

         “In deciding whether a proposed settlement warrants approval, the informed and reasoned

  judgment of plaintiffs’ counsel and their weighing of the relative risks and benefits of protracted

  litigation are entitled to great deference.” Thacker, 695 F. Supp. 2d at 531 (citing In re Cardizem

  CD Antitrust Litig., 218 F.R.D. 508, 523 (E.D. Mich. 2003)); Bowers, 2013 WL 5934019, at *3

  (citing Rankin v. Rots, No. 02-71045, 2006 WL 1876538, at *3 (E.D. Mich. June 28, 2006) (“the

  Court should also consider the judgment of counsel and the good faith bargaining between the

  contenting parties”)); Int’l Union, United Auto., Aerospace, and Agric. Implement Workers of

  Am. v. Ford Motor Co., No. 07-14845, 2008 WL 4104329, at *26 (E.D. Mich. Aug. 29, 2008)

  (“The endorsement of the parties’ counsel is entitled to significant weight, and supports the

  fairness of the class settlement”).

         Co-Lead Class Counsel are or have been lead or co-lead class counsel in important

  ERISA breach of fiduciary duty cases throughout the nation. For example, Keller Rohrback has

  served as lead or co-lead counsel in ERISA fiduciary breach class actions filed against American

  International Group, Fremont General Corp., Bear Stearns, Wachovia, Enron, WorldCom,

  Global Crossing, Merrill Lynch, Countrywide, IndyMac, and Washington Mutual. To date,

  Keller Rohrback has achieved settlements for its ERISA clients in excess of $1 billion to

  employees and retirees. Loeser Decl., ¶ 41. Additional information regarding Keller Rohrback

  can be found in its firm resume, attached as Ex. 3 to the Loeser Decl. Feinstein Doyle Payne &

  Kravec have also served as lead counsel in many ERISA fiduciary duty cases over the past

  fifteen years. Additional information regarding Feinstein Doyle Payne & Kravec’s experience in

  this field can be found in its firm resume attached as Ex. 4 to the Loeser Decl. In addition,



                                                   23
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 29 of 40                            PageID
                                  17305




  recovery in this case would not have been possible without expertise in and relevant knowledge

  of insurance law, banking, trusts, securities matters and accounting. Co-lead Class Counsel

  possessed and demonstrated expertise in all of these areas in this Action.

         Co-Lead Class Counsel provided the necessary expertise garnered from their experience

  serving in numerous ERISA company stock, excessive fee and class of plans cases in which they

  have dealt with similar factual and legal issues to those presented in this case. Their discovery

  and investigation in this case has been thorough and comprehensive. In their view, the Settlement

  provides an excellent result for the Settlement Subclasses in an increasingly difficult legal

  climate for ERISA breach of fiduciary duty claims.

         4.      Amount of Discovery Completed and Character of the Evidence Uncovered

         Here the Court considers whether the Parties conducted sufficient investigation and

  discovery to allow them to be “thoroughly familiar with the evidence and the issues in the case”

  so they “could realistically evaluate the strengths and weaknesses of their case.” Milk Antitrust,

  2012 WL 223692, at *3. “Although the amount of discovery completed is a factor to be

  considered in the settlement approval process, there is no minimum or definitive amount of

  discovery that must be undertaken to satisfy this factor.” Bowers, 2013 WL 59344019, at*2

  (citing In re Jiffy Lube Sec. Litig., 927 F.2d 155, 159 (4th Cir. 1991)).

         Here Plaintiffs propounded seven sets or requests for production to Defendants and

  issued seven third party document subpoenas which yielded hard copy documents and

  electronically stored information (ESI) totaling 786,500 documents or 7,360,500 pages. Loeser

  Decl., ¶ 10; Ex. 2. Plaintiffs reviewed, analyzed, coded and organized these documents into a

  database. The documentary evidence, together with extensive informal investigation, enabled



                                                   24
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 30 of 40                           PageID
                                  17306




  Plaintiffs to piece together the evidence they would need at trial prove the Defendant ERISA

  fiduciaries knew or should have known the three investment options at issue became imprudent

  early in the class period. Plaintiffs also started into depositions, taking the testimony of

  Defendant Chris A. Glaub who was a member of the Regions Financial Corporation Legacy Plan

  Benefits Management Committee as of March 14, 2007 and Plan Administrator of both the

  Legacy and Am South Plans. Loeser Decl., ¶ 11.

         Plaintiffs set forth their factual evidence in an extensive mediation brief supported by

  detailed and voluminous citations to Defendants’ documents and diagrams showing key lines of

  communication within Defendants’ organizations. Id. at ¶ 16. The long months of settlement

  negotiations included further exchange of information about the parties’ claims and defenses.

  “All of this information ultimately allowed the parties to frankly evaluate the merits and risks

  inherent in their respective case and to determine the appropriate settlement value.” Bowers,

  2013 5934019, at *3. This factor weighs in favor of settlement approval.

         5.      Fairness to Unnamed Subclass Members

         This factor is relevant only where the Named Plaintiffs receive a recovery under the

  Settlement that is not available to the unnamed Subclass members. That is not the case here. As

  explained below, the proposed Plan of Allocation sets forth the formula that will govern

  allocation for all members of each Settlement Subclass.

         6.      Objections Raised by Class Members

         Pursuant to the Preliminary Approval Order, Subclass members have until October 28,

  2014 to file any objections, which is approximately five weeks after Plaintiffs will have filed this




                                                    25
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 31 of 40                            PageID
                                  17307




  motion. Under the Preliminary Approval Order, Plaintiffs will respond to objections, if any, by

  November 29, 2014, and will address this factor at that time.

         7.      Whether the Settlement is the Product of Arms-Length Negotiations

         “The court must also make sure that any settlement is the product of arm’s length

  negotiations as opposed to collusive bargaining.” Milk Antitrust, 2012 WL 2236692, at *4 (citing

  Bronson v. Board of Educ., 604 F. Supp. 68, 73 (S.D. Ohio 1984)). “Courts presume the absence

  of fraud or collusion in class action settlements unless there is evidence to the contrary.” Dick,

  297 F.R.D. at 295 (citing Leonhardt v. ArvinMeritor, Inc., 581 F. Supp. 2d 818, 838 (E.D. Mich.

  2008)). See also In re Teletronics Pacing Sys., Inc., 137 F. Supp. 2d 985 at 1016 (S.D. Ohio

  2001) (citing Herbert Newberg & Alba Conte, Newberg on Class Actions § 11.51 (3d ed. 1992)

  (attached as Ex. 1 to Wetherald Decl.) (“Courts respect the integrity of counsel and presume the

  absence of fraud or collusion in negotiating the settlement, unless evidence to the contrary is

  offered”)).

         The course of litigation, the scope and nature of discovery, and the protracted period

  required for settlement negotiations and negotiation of the Settlement Agreement reflect the hard

  fought and arm’s length nature of both the litigation and the Settlement. In addition, the

  Settlement was only possible through the active involvement of Judge Weinstein as the mediator,

  both during the mediation and during the following ten months of negotiations to reach an agreed

  Mediator’s Proposal. Loeser Decl., ¶ 17. From the beginning of the mediation process, the

  Settlement Amounts for each Subclass were negotiated separately, as independent Settlements.

  Id. This is a good faith Settlement in which there is no risk of fraud or collusion.




                                                   26
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 32 of 40                            PageID
                                  17308




         8.      Whether the Settlement is Consistent with Public Policy

         “[T]here is a strong public interest in encouraging settlement of complex litigation and

  class action suits because they are ‘notoriously difficult and unpredictable’ and settlement

  conserves judicial resources.” In re Cardizem, 218 F.R.D. at 530 (quoting Granada Inv., Inc. v.

  DWG Corp., 962 F.2d 1203, 1205 (6th Cir. 1992)). Dick, 297 F.R.D. at 297 (citing Ehrheart v.

  Verizon Wireless, No. 08-4323, 2010 WL 2365867, at *3 (3d Cir. June 15, 2010) (“Settlement

  agreements are to be encouraged because they promote the amicable resolution of disputes and

  lighten the increasing load of litigation faced by the federal courts”)).

         The public interest weighs in favor of the parties’ resolution of this protracted litigation

  through the Settlement. The Settlement provides finality, with a substantial recovery of the

  retirement funds to the Plaintiff Plan participants. Proceeding to trial in a case of this complexity

  would require substantial judicial resources as the parties completed discovery, summary

  judgment and pre-trial motions and trial. Gascho, 2014 WL 1350509, at *19 (citing In re

  Nationwide Fin Servs. Litig., No. 08-00249, 2009 WL 8747486, at *8 (S.D. Ohio Aug. 18, 2009)

  (“[T]here is certainly a public interest in settlement of disputed claims that require substantial

  federal judicial resources to supervise and resolve”)); Moulton v. U.S. Steel Corp., 581 F.3d 344,

  351 (6th Cir. 2009) (finding no collusion where the settlement agreement was entered into after

  four years of complex and contested litigation and the agreements was the product of supervised

  negotiations). This factor weighs in favor of approval.

         When viewed individually and together, the relevant factors weigh decisively in favor of

  final settlement approval.




                                                    27
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 33 of 40                              PageID
                                  17309




  B.       The Plan of Allocation is Fair and Reasonable

           “As part of its examination of a class-action settlement, a court must ensure that the

  distribution of the settlement proceeds is equitable.” Bowers, 2013 WL 5934019, at *4 (citing

  Oritz v. Fibreboard Corp., 527 U.S. 815, 855 (1999)); In re Global Crossing Sec. and ERISA

  Litig., 225 F.R.D. 436 (S.D.N.Y. 2004). The Court considers the fairness and reasonableness of

  the allocation separately from the general settlement terms. Bowers, 2013 WL 5934019, at *4

  (citing Crawford v. Lexington-Fayette Urban County Gov’t, No. 06-299, 2008 WL 4724499, at

  *9 (E.D. Ky. Oct. 23, 2008)).

           The proposed Plan of Allocation13 sets forth an allocation formula for each of the four

  Settlement Subclasses summarized here as follows:

                   a.       Regions Stock Settlement Subclass

           The Regions Stock Subclass Settlement Amount will be allocated to each In-House Plan

  Participant Account in this Subclass based on the account’s proportionate losses on the

  investment in Regions Stock during the Regions Stock Subclass period. Each In-House Plan

  Participant Account with a proportionate recovery of thirty dollars ($30.00) or below is

  designated as a De Minimis Account and will receive an allocation of zero. Any recoveries

  allocable to De Minimis Accounts will be reallocated proportionately within the Regions Stock

  Subclass. The Claims Administrator will calculate the Final Dollar Recovery for each In-House

  Plan Participant Account that held Regions Stock during the Subclass period. Loeser Decl., ¶

  25(a).




  13 The proposed Plan of Allocation is attached as Ex. 5 to the Loeser Decl.



                                                          28
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 34 of 40                        PageID
                                  17310




                 b.     Excessive Fee Settlement Subclass

         The Excessive Fee Settlement Subclass Amount will be allocated to each In-House

  Participant Plan Account in this Subclass based on the proportionate share of the RMK Select

  (Mutual) Fund Balances held by the In-House Participant Plan Account. Each In-House Plan

  Participant Account with a proportionate recovery of thirty dollars ($30.00) or below is

  designated as a De Minimis Account and will receive an allocation of zero. Any recoveries

  allocable to De Minimis Accounts will be reallocated proportionately within the Excessive Fee

  Subclass. The Claims Administrator will calculate the Final Dollar Recovery for each In-House

  Plan Participant Account that held RMK Select (Mutual) Funds during the Subclass period. Id. at

  ¶ 25(b).

                 c.     Bond Fund Settlement Subclass

         The Bond Fund Subclass Settlement Amount will be allocated to each In-House Plan

  Participant Account in this Subclass based on the account’s proportionate losses on the

  investment in RMK Bond Funds during the Bond Fund Subclass period. Each In-House Plan

  Participant Account with a proportionate recovery of thirty dollars ($30.00) or below is

  designated as a De Minimis Account and will receive an allocation of zero. Any recoveries

  allocable to De Minimis Accounts will be reallocated proportionately within the Bond Fund

  Subclass. The Claims Administrator will calculate the Final Dollar Recovery for each In-House

  Plan Participant Account that held RMK Bond Funds during the Subclass period. Id. at ¶ 25(c).

                 d.     Customer Plans Subclass

         Each Customer Plan Account will be allocated $100.00 from the Customer Plans

  Settlement Amount. The Remaining Customer Plan Proceeds will be allocated to each Customer




                                                 29
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 35 of 40                            PageID
                                  17311




  Plan Account based on each Account’s proportionate losses on the investment in RMK Bond

  Funds during the Customer Plans Subclass period minus the Account’s recovery from the States

  Fair Fund Distribution. Each Customer Plan Account with a proportionate recovery of thirty

  dollars ($30.00) or below is designated as a De Minimis Account and will receive an allocation

  of zero. Any recoveries allocable to De Minimis Accounts will be reallocated proportionately

  within the Customer Plans Subclass. The Claims Administrator will calculate the Final Dollar

  Recovery for each Customer Plan Account that held RMK Bond Funds during the Subclass

  period. Id. at ¶ 25(d).

             Each In-House Plans Settlement Subclass member may preserve the tax status of the

  retirement funds at issue. Each active In-House Plan Participant Account will receive the

  distribution in the Plan Account. The distribution will be allocated in accordance with the most

  recent contribution investment direction on file for that Account. Where an In-House Plan

  Participant Account is not active, further distribution from that account will be governed by

  applicable provisions of the Regions 401(k) Plan. A distribution to an account that is not active

  will be invested in accordance with the Regions 401(k) Plan’s default investment procedures. Id.

  at ¶ 26.

             The Claims Administrator will distribute the Customer Plans Subclass Settlement

  Amount to Customer Plan Accounts by check directed to the “Plan Administrator of the [name

  of the Customer Plan Account] with instructions that the distribution should be contributed to the

  Customer Plan Account or a successor plan. The Plan of Allocation sets forth procedures in the

  event a Customer Plan Account cannot be located or has been terminated. Id. at ¶ 27.




                                                   30
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 36 of 40                            PageID
                                  17312




  C.     The Court Should Grant Class Certification for the Four Settlement Subclasses for
         the Purpose of Settlement

         The Court previously granted preliminary class certification of the four Subclasses for

  settlement purposes. See Preliminary Approval Order at pp. 3-4 (Dkt. No. 327). The Court set

  forth the manner in which the four Subclasses meet the requirements of Fed. R. Civ. P. 23 for

  class certification. Id. at pp. 5-7. The Court also preliminarily appointed Interim Co-Lead Class

  Counsel as Co-Lead Class Counsel. Id. at p. 10. Nothing has occurred since then to cast doubt on

  whether the applicable prerequisites of Rule 23 are met. On that basis, Plaintiffs’ respectfully

  request final certification of the four Subclasses for settlement purposes and final appointment of

  Co-Lead Class Counsel as Co-Lead Class Counsel for the Settlement Subclasses.

                                       IV.     CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that this Court grant final

  approval to the proposed Settlement, approve the Plan of Allocation, grant final class

  certification for the four Subclasses for settlement purposes and finally appoint of Co-Lead Class

  Counsel and enter the proposed Final Approval Order and Judgment.

         Respectfully submitted this 23 rd day of September, 2014.

                                                Respectfully Submitted,

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                                                  31
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 37 of 40             PageID
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                                      32
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 38 of 40            PageID
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                                      33
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 39 of 40     PageID
                                  17315




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                                      34
Case 2:09-md-02009-SHM-dkv Document 396-1 Filed 09/23/14 Page 40 of 40                      PageID
                                  17316




                                 CERTIFICATE OF SERVICE

         I hereby certify that I have on September 23, 2014 filed

   PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR FINAL APPROVAL
     OF CLASS ACTION SETTLEMENT AGREEMENT, SETTLEMENT SUBCLASS
          CERTIFICATION AND APPROVAL OF PLAN OF ALLOCATION


         electronically with the Clerk of Court, which will send notification of such filing to

  counsel in this matter.

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                                                35
